972 F.2d 341
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Elmer Leon PETERSON, Petitioner-Appellant,v.Edward GRANNIS, Respondent-Appellee.
    No. 92-6548.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 6, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-91-710-HC-BO)
      Elmer Leon Peterson, Appellant Pro Se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      Affirmed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Elmer Leon Peterson appeals from the district court's order refusing relief under 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Peterson v. Grannis, No. CA-91-710-HC-BO (E.D.N.C. May 12, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    